                     Case 3:13-cr-00100-WKW-CSC Document 683 Filed 02/03/15 Page 1 of 7

  AO 245C            (Rev. 09/I1) Amended Judgment in a Criminal Case
                                                                                                                                 (NOTE: Identify Changes with Asterisks (t))
  vi                 Sheet I


                                                UNITED STATES DISTRICT COURT
                                                             MIDDLE DISTRICT OF ALABAMA
              UNITED STATES OF AMERICA                                                     AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                                            (WO)
                         V.
                   MICHAEL MARTIN                                                          Case Number: 3:13crl00-09-WKW
                                                                                           USM Number: 14782-002
Date of Original Judgment: 11/4/2014                                                       John P. Graves
(Or Date of Last Amended Judgment)                                                         Defendant's Attorney

Reason for Amendment:
El Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                         El Modification of Supervision Conditions (18 U.S.C. §* 3563(c) or 3583(e))
       Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                          Modification of Imposed Term of Imprisonment for Extraordinary and
       P. 35(b))                                                                               Compelling Reasons (18 U.S.C. § 3582(c)(1))
       Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))                 EJ Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
                                                                                               to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
 El Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
                                                                                           El Direct Motion to District Court Pursuant        28 U.S.C. § 2255 or
                                                                                                    18 U.S.C. § 3559(c)(7)
                                                                                               Modification of Restitution Order (18 U.S.C. § 3664)

TUE DEFENDANT:
 g pleaded guilty to count(s) 1 s and 60ss of the Second Superseding Indictment on 04/28/2014
        pleaded nolo contendere to count(s)
        which was accepted by the court.
        was found guilty on count(s)
        after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                        Nature of Offense                                                                     Offense Ended                    Count
 18:371 and 7:2156                       Conspiracy to Sponsor, Exhibit, Buy, Sell, Possess, Train or                         11/14/2013                      iss
                                            Transport a Dog for Participation in an Animal Fighting Venture

 18:922(g)(1)                            Felon in Possession of a Firearm                                                     08/23/2013                      60ss




       See additional count(s) on page 2
      The defendant is sentenced as provided in pages                        through 7 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)

  'Count(s) 1,1s,1212S,l2ss,17,17s35ss-39ss,43ss.58ss,59ss        El is        tare dismissed on the motion of the United States.

         It is ordered that the defendant mist notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                      11/03/2014
                                                                                      Dale of Imposition of Judgment




                                                                                      4,
                                                                                      Signature of Judge
                                                                                                                       PX2
                                                                                      W. KEITH WATKINS, CHIEF U.S. DISTRICT JUDGE
                                                                                      Name of Judge                                      Title of Judge



                                                                                     — )1
                                                                                     Date
                                                                                             A      X--;--

                                                                                                /
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AO 245C          (Rev. 09/I1) Amended Judgment in a Criminal Case
vI               Sheet 2 - Imprisonment

                                                                                                                       Judgment Page: 2 of 7
     DEFENDANT: MICHAEL MARTIN
     CASE NUMBER: 3:13cr10009-WKW


                                                                    IMPRISONMENT

              The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
     total term of:
      60 Months. This term consists of 60 months as to each court to be served concurrently.




         L The court makes the following recommendations to the Bureau of Prisons:




             The defendant is remanded to the custody of the United States Marshal.

         L The defendant shall surrender to the United States Marshal for this district:
             El at ______ _____________                       am. L p.m. on

                  as notified by the United States Marshal.

         El The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             El before                    on

             El as notified by the United States Marshal.
             El as notified by the Probation or Pretrial Services Office.


                                                                          RETURN
     I have executed this judgment as follows:




             Defendant delivered on                                                             to

     a                                                       with a certified copy of this judgment.



                                                                                                          UNITED STATES MARSHAL



                                                                                 By
                                                                                                       DEPUTY UNITED STATES MARSHAL
                   Case 3:13-cr-00100-WKW-CSC Document 683 Filed 02/03/15 Page 3 of 7


AU 245C           (Rev. 09/I1) Amended Judgment in a Criminal Case
V1                Sheet 3 - Supervised Release


 DEFENDANT: MICHAEL MARTIN                                                                                                  Judgment Page: 3 of 7
 CASE NUMBER: 3:13crlOO-09-WKW
                                                               SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 3 Years. This term consists of 3 years as to each count to be served concurrently.


          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
           The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
           future substance abuse. (Check, if applicable.)

           The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, fapplicable.)
           The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, f applicable.)

 U The  defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, el seq.)
   as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
           works, is a student, or was convicted of a qualifying offense. (Check, (fapplicable.)

 U The defendant shall participate in an approved program for domestic violence. (Check, (fapplicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that hwe been adopted by this court as well as with any additional conditions
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
      1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
      2)    the defendant shall report to the probation officer in a manner and frequency directed by the court and the probation officer;
      3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
      4)    the defendant shall support his or her dependents and meet other family responsibilities;
      5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
            acceptable reasons;
      6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
      7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
            felony, unless granted permission to do so by the probation officer;
     10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view of the probation officer;
     11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcermnt officer;
     12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcemnt agency without the
            permission of the court; and

     13)    as directed by the probation officer, the defendant shall notif' third parties of risks that may be occasioned by the defendant's criminal
            record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
            defendants compliance with such notification requirement.
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AO 245C        (Rev. 09/I1) Amended Judgment in a Criminal Case
vi             Sheet 3A - Supervised Release

                                                                                                            Judgment Page: 4 of 7
DEFENDANT: MICHAEL MARTIN
CASE NUMBER: 3:1 3crl OO-09-WKW


                                       ADDITIONAL SUPERVISED RELEASE TERMS

     Defendant shall participate in a program of drug testing administered by the United States Probation Office as directed.

     Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this court.

     Defendant shall not possess a dog during his period of supervised release.
                  Case 3:13-cr-00100-WKW-CSC Document 683 Filed 02/03/15 Page 5 of 7


AO 245C        (Rev. 09/11) Amended Judgment in a Criminal Case
vI              Sheet 5—Criminal Monetary Penalties

                                                                                                                      Judgment Page: 5 of 7
     DEFENDANT: MICHAEL MARTIN
     CASE NUMBER: 3:13crlOO-09-WKW
                                                CRIMINAL MONETARY PENALTIES
        The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                                        Fine                              Restitution
 TOTALS              $ 200.00                                         $                                   $ 458,652.56



 E The determination of restitution is deferred until                     . An Amended Judgment in a Criminal Case (AO 245C) will be entered
        after such determination.

        The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
        the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
        before the United States is paid.

 Name of Payee                                                       Total Loss*              Restitution Ordered Priority or Percentage

     ASPCA                                                                                             $458,652.56

     ATTN: Tim Rickey

     520 8th Avenue, 7th Floor

     New York, NY 10018




TOTALS                                                                              $0.00              $458,652.56


E Restitution amount ordered pursuant to plea agreement
        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        Qf the interest requirement is waived for the       E fine 5t restitution.
        E the interest requirement for the            E fine E restitution is modified as follows:

* Findings for the total anDunt of losses are required under Chaers 109A, 110, 11 OA, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
                Case 3:13-cr-00100-WKW-CSC Document 683 Filed 02/03/15 Page 6 of 7

AO 245C       (Rev. 09/11) Amended Judgment in a Criminal Case
V1            Sheet 6— Schedule of Payments

                                                                                                                              Judgment Page: 6 of 7
 DEFENDANT: MICHAEL MARTIN
 CASE NUMBER: 3:13crl00-09-WKW


                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    1 Lump sum payment of$ 458,85256                           due immediately, balance due

            Li    not later than                                       or
             ( in accordance             Li C, Li D, E E, or                     V F below; or
 B    F Payment to begin immediately (may be combined with                    El C.            D, or     Li F below); or
 C    F Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                            over a period of
             _______ (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D    F Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                        (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

 E F Payment during the term of supervised release will commence within -(e.g., 30 or 60 days) after release from
        imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F        ' Special instructions regarding the payment of criminal monetary penalties:
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District c Alabama, Post Office Box 711,
            Montgomery, Alabama 36101. Defendant shall pay restitution in the amount of $25.00 per quarter while in the custody of the Bureau of
            Prisons. Any balance remaining at the start of supervision shall be paid at the rate of not less than $125.00 per month. To the extent that
            other defendants are ordered in this case or in any other case to be responsible for some or all of the restitution amount owed to the victim,
            the victim is entitled to only one recovery, from whomever received. In other words, the victim is not allowed to receive compensation in
            excess of its loss.          (*) see page 7 for additional cases/defendants

Unless the court has expressly ordered otherwise, if thisjudgment imposes imprisonment, payment of crininal monetary penalties is due during
imprisonment. All crimnal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




L Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount. Joint and Several Amount,
      and corresponding payee, if appropriate.




E The defendant shall pay the cost of prosecution.
E The defendant shall pay the following court cost(s):
E     The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest. (4) fine principal,
(5) fine interest, (6) communit y restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
        Case 3:13-cr-00100-WKW-CSC Document 683 Filed 02/03/15 Page 7 of 7




                                                                 Judgment Page: 7 of 7




3:13crlOO-01-WKW      Donnie Anderson
3:1 3crl 00-04-WKW    Irkis Forrest
3:1 3crl 00-07-WKW    Robin Stinson
3:1 3crl 00-1 0-WKW   Lawrence Watford
3:13cr100-11 -WKW     Ricki Van Le
3:1 3crl 00-1 2-WKW   David Sellers
